                                                                        Case 2:19-cv-00168-JAD-CWH Document 9 Filed 06/14/19 Page 1 of 3




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                                                                    9                                UNITED STATES DISTRICT COURT
                                                                   10
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                                                                   12                                                        Case No. 2:19-cv-00168-JAD-CWH
                                 Las Vegas, Nevada 89101




                                                                                                  Plaintiff,
                                                                   13                                                           DEFENDANT CRISTIANO RONALDO’S
                                                                           vs.                                                 CERTIFICATE OF INTERESTED PARTIES
                                                                   14
                                                                           CRISTIANO RONALDO,
                                                                   15
                                                                                                  Defendant.
                                                                   16
                                                                   17
                                                                   18            Pursuant to Local Rule 7.1-1(c), the undersigned counsel of record for Defendant

                                                                   19    Cristiano Ronaldo, files this Certificate of Interested Parties and certifies that the following may

                                                                   20    have a direct, pecuniary interest in the outcome of this case:
                                                                                 •   Cristiano Ronaldo
                                                                   21
                                                                                 •   Multisports & Image Management (M. I. M.) Ltd.
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                                                                    1           These representations are made to enable judges of the court to evaluate possible
                                                                    2    disqualifications or recusal.
                                                                    3           DATED this 14th day of June, 2019.
                                                                    4                                                CHRISTIANSEN LAW OFFICES
                                                                    5
                                                                    6                                                By_________________________________
                                                                                                                       PETER S. CHRISTIANSEN, ESQ.
                                                                    7                                                  KENDELEE L. WORKS, ESQ.
                                                                                                                       KEELY A. PERDUE, ESQ.
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                                                                    1                                   CERTIFICATE OF SERVICE
                                                                    2           Pursuant to FRCP 5 and LR-5.1, I certify that I am an employee of CHRISTIANSEN
                                                                    3    LAW OFFICES, and that on this 14th day of June, 2019, I caused the foregoing document
                                                                    4    entitled DEFENDANT CRISTIANO RONALDO’S CERTIFICATE OF INTERESTED PARTIES to be
                                                                    5    filed and served via the Court’s CM/ECF electronic filing system upon all registered parties and
                                                                    6    their counsel.
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